           Case 1:13-cr-00065-BLW Document 23 Filed 06/28/13 Page 1 of 4




                          UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO


 UNITED STATES OF AMERICA,
                                                    Case No. 1:13-cr-00065-BLW
                       Plaintiff,
                                                    PROTECTIVE ORDER
        v.

 ELAINE MARTIN,
 DARRELL SWIGERT,

                       Defendants.


      The Court has before it the Government’s Motion for an Order Authorizing

Disclosure of Taxpayer Returne Information, and Protective Order (Dkt. 22). The

defendants do not oppose the motion. Accordingly,

      IT IS HEREBY ORDERED:

      1.       Government’s Motion for an Order Authorizing Disclosure of Taxpayer

               Returne Information, and Protective Order (Dkt. 22) is GRANTED.

      2.       The government, pursuant to Title 26, United States Code, Section

               6103(h)(4)(D), may disclose to defendants Elaine Martin and Darrell

               Swigert, and their attorneys, the “returns” and “return information”

               gathered during the course of the investigation in order to satisfy its

               obligations pursuant to Rule 16 of the Federal Rules of Criminal Procedure,


PROTECTIVE ORDER - 1
          Case 1:13-cr-00065-BLW Document 23 Filed 06/28/13 Page 2 of 4




              18 U.S.C. § 3500, and Brady v. Maryland and its progeny. For purposes of

              this Order, “return” and “return information” shall be defined as set forth in

              Title 26, United States Code, Section 6103.

     3.       The defendants and their attorneys, and all other individuals or entities

              assisting defendants who receive materials in connection with this case are

              prohibited from directly or indirectly providing access to, or otherwise

              disclosing the contents of, these materials to anyone not working on the

              defense of this criminal case, or otherwise making use of the materials in a

              manner unrelated to the defense of this criminal case. Authorized use of

              materials related to the defense of this criminal case shall include showing

              and discussing such materials with government and defense witnesses.

     4.       The defendants and their attorneys, and all other individuals or entities who

              receive materials in connection with this case, shall store materials

              produced to the defense in a secure manner and shall not:

              a.     Make copies for, or allow copies of any kind to be made by any

                     other person of documents produced pursuant to this Order;

              b.     Allow any other person to read documents produced pursuant to this

                     Order;

              c.     Use documents produced pursuant to this Order for any other

                     purpose than preparing to defend against the charges in the

                     superseding indictment or further superseding indictments arising

PROTECTIVE ORDER - 2
          Case 1:13-cr-00065-BLW Document 23 Filed 06/28/13 Page 3 of 4




                     out of this case.

     5.       The defendants and their attorneys are required to give a copy of this Order

              to all individuals or entities engaged or consulted by the defense in

              preparation for trial in this case. A violation of this Order by the

              defendants, their attorneys, or others may result in contempt of court

              proceedings or other civil or criminal sanctions.

     6.       Within ninety (90) days of the conclusion of this case, including all related

              appeals, all documents produced pursuant to this Order, and all copies

              thereof (other than exhibits of the Court), shall be returned to the United

              States Attorney’s Office. Alternatively, the defendants and their attorneys

              may inform the United States Attorney’s Office in writing that all such

              copies have been destroyed.

     7.       This Order shall not restrict the use or introduction as evidence of discovery

              documents containing personal identifying information such as social

              security numbers, bank account numbers, drivers license numbers, dates of

              birth, or addresses during the trial of this case. However, each party is

              responsible for the redactions of any and all documents that said party uses

              in a public proceeding.

     8.       The provisions of this Order shall not terminate at the conclusion of this

              criminal prosecution.



PROTECTIVE ORDER - 3
      Case 1:13-cr-00065-BLW Document 23 Filed 06/28/13 Page 4 of 4




                                 DATED: June 28, 2013



                                 B. LYNN WINMILL
                                 Chief U.S. District Court Judge




PROTECTIVE ORDER - 4
